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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:nonhumanrightsproject,incvcheyennemountainzoologicalsocietyno24sa212025co3february10,2025" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2025 CO 3&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Nonhuman Rights Project, Inc.&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Cheyenne Mountain Zoological Society&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Bob Chastain&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SA21&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-court"&gt;&lt;b class="ldml-bold"&gt;Supreme Court of Colorado&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;February 10, 2025&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
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 &lt;span data-paragraph-id="211" data-sentence-id="228" class="ldml-sentence"&gt;Appeal
 from the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_228" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;District Court El Paso County District Court&lt;/span&gt; &lt;span class="ldml-cite"&gt;Case
 No. 23CV31236&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Honorable Eric Bentley&lt;/span&gt;, Judge&lt;/span&gt;
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